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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )            Case No. 8:03CR379
                                              )
                      Plaintiff,              )
                                              )
       v.                                     )                     ORDER
                                              )
LETA KINDRED,                                 )
                                              )
                      Defendant.              )


       This matter comes on to consider the government’s motion for Rule 35 hearing. Filing No.
79. Having considered the matter,
       IT IS ORDERED that:
       1.   A hearing on the government’s motion is scheduled before the undersigned United
States district judge on June 30, 2005, at 3:00 a.m. in Courtroom No. 3, Roman L. Hruska U.S.
Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       2. Counsel for the defendant, if previously appointed pursuant to the Criminal Justice Act,
is reappointed to represent the defendant for purposes of the Rule 35(b) motion. If retained,
counsel for the defendant remains as counsel for the defendant until the Rule 35(b) motion is
resolved or until given leave to withdraw.
       3. The Federal Public Defender shall provide CJA counsel with a new voucher.
       4. The Clerk of the Court shall electronically serve a copy of this order on counsel for the
government, counsel for the defendant, and the Federal Public Defender.
       5. The Marshal is directed to return the defendant to the district for this hearing. If
the defendant at a later date decides to waive her right to be present at the hearing, she may
do so (at least 6 weeks prior to the hearing) by contacting her attorney who shall then inform
the court and the U.S. Marshal of defendant's decision. In that event, the defendant may
participate telephonically in the hearing by informing her attorney, who in turn shall supply
this court with a telephone number at which the defendant may be reached for the hearing.
       DATED this 3rd day of May, 2005.

                                              BY THE COURT:


                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
